                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Case 1:11-cv-00559-WMS Document 19-48 Filed 07/26/11 Page 1 of 1




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           TO                                                                                                                                                                                                                                                                                                                                  OY R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             NA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               WA                                                                                                                                                                                                                                                                                                                          H ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    AC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E                KR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        GOODRICH RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        WESTPHALINGER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        GR
                                                                                                                                                                                                                                                                                             TRANSIT RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       B ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               K EN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           KE L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BRAUER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           SESH RD


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RAP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       IDS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    SALT RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         BERGHORN RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 NORTHFIELD RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            WOLCOTT RD                                                                                                                                                                                                                                                                     DELAWARE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  CEDAR RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PARKER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      KENFIELD RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              YV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         SAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          UN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LAPP RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             TS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   CO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          HE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ST


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Clarence NY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ON




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             GREEN ACRES RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CAMB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   RIDGE
                                                                                                                                                              CRYSTAL SPRINGS LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 S CO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TTS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            MARTIN RD
                                                                                                                                                                                                                N FRENC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 DAL
                                                                                                                                                                                                           AUT         H RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ER
                                                                                                                                                                                                               UMN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                D
                                                                                                                                                                                                                   CRE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              AY
                                                                                                                                                                                                                      EK L
                                                                                                                                                                                                                           N                                                                                                                                                                                                                        W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        W
                                                                                                                                                                                                           AUTUMN CREEK CT                                                                                                                                                                                                                                     ES




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    OSE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TM                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        COUNTY RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          HEISE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   IN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                HUNTS CORNERS RD
                                                                                                                                                                                                                                               N                                                                                                                                                                                                                                               ST
                                                                                                                                                                                                                                           CK L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              R
                                                                                                                                                                                                                                     L ER O                                                                                                                                                                             PA                                                                       ER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          HAN
                                                                                                                                                                                                                        S      C A ST                                                                                                                                                                                     RL                                                                                               D
                                                                                                                                                                                                                                                                                                                                                                                                                                              IA                                                                                  R
                                                                                                                                                                                                                                                                                                                                                                                                                                                M                                                                                                   BELLE WAY



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  M EG
                                                                                                                                                                                                                                                                                                                                                                                                                                                               EN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         PI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  NE                                                                                                                                                                                                                                                                                              CROOP RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     CONNER RD
                                                                                                                                                                                   LN




                                                                                                                                                                                                                                                                                                                 CE                                                                                                                                               T                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ME
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CI
                                                                                                                                                                                                                                                                                                                                NT                                                            MILES RD                                                                                    R                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AD
                                                                                                                                                                                   O




                                                                                                                                                                                                                                                                                                                                  RE
                                                                                                                                                          Y CT ND




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      OW
                                                                                                                                                                                                                                                                 BREEZEWOOD CMN




                                                                                                                                                                                                                                                                                                                                                              LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        S
                                                                                                                                                                A
                                                                                                                                                              RN



                                                                                                                                                                                                      MI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            BRIDLEWOOD DR S
                                                                                                                                                                                                       ST
                                                                                                                                                           FE




                                                                                                                                                                                                                 DAPPLED DR                                                                                                                                                       CLARHERST DR                                                                                                                                                                                LA
                                                                                                                                                                                                          Y




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                K                                                                                                                                                                                                                                                                                                                                                             CT
                                                                                                                                                          N

                                                                                                                                                                  ASHBUR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LANDSTONE DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EM
                                                                                                                                                                                                            LN
                                                                                                                                                        SA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    OW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          T




                                                                                                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                    CASEY RD                                                                                                                                                                   OLD POST RD                                                                                                                                                                         O                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      C AR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ON T C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EVERWOOD CT N




                                                                                                                                                                                                                                                                                                                                                                                                                R                                                                                                                                                                   N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      T                                                                                                                                                                                                                                                                                           AD                                                                                                                                                                           MEL
                                                                                                                                                                                                                                                                                                                                                                                                             TD                                                                                                                                                                                                             D                                                                                                                                                                                                                                                                                   ME                                                                                                                                                                 DEERVIEW LN     OC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CLOVERLEAF CIR




                                                                                                                                                                                                                 SU                                                                                                                                                                                        NU                                                                                                                                                                                                                 DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  R                                                                                                       ST                                                                                                                                        H




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                BALSHAM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  EC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EVERWOOD CT S




                                                                                                                                                                            SHAD                                   NB                                                                                                                                                                                    L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CRE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    AH
                                                                                                                                                                                                                                                                                                                                                                                                       WA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LAKEM




                                                                                                                                                                                Y GRO                                U
                                                                                                                                                                                                               VE DR RST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            P                                                                                                                                   LE                                                                                                              BE VIA CIMATO DR                                                                                       PI N
                                                                                                                                                                                                                                                                                                                                                                                                     K                                                                                                                                                                                                                   CU                                                                                                                                        Y                                                                                                                                                                                                                       YO                                                                                                    CT                                                                                                                                                                                                                                                                   KELLER RD
                                                                                                                                                                                                                                                                                                                                                                                                  AC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       WALNUT CREEK DR




                                                                                                                                                                                                                                                      CIR


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       R                                                                                                                                                               RD                                                                                                                                                                                                                           N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             EK H
                                                                                                                                                                                                                                                                                                                                                                                               B L                                                                                                                                                                                                                    EM                                                                                                                                                                                                                                                                                                                                                                                                 CT                                           IDE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    TT ILL                                                                                                                                                                                                                                                                                                                                                                                                                                          YS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   CLARENCE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BU       C                                                                                                                                                          WINDING CREEK LN                                                                                                                                                                                                                                                         UN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 A VE

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             R                                                                                                                                                                                                                                                                                                                                                  JUNIP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ER PL CO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     FIR CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MEADOW LAKES




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              EE                                                                                                                                              AMY LEIGH                                                                                                                                                                                       PINE


                                                                                                    Amherst NY
                                                                                                                                                                                                                                                                                                                                               F LO                                                                                                                                                                                                                                                                              K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               RUN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        N DR


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   BRE
                                                                                                                                                                                                                                                                                                                                                                                                          GO




                                                                                                                                                                                                                                                                                                                                                                SS                                                                                                                                                                                                                                                                                                                                     D

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     NE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       E ZE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        HERR RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RANCH VIEW DR

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              OCK LN




                                                                                                                                                                                                                                                                                                                                                                                         LN                                                                                                                                                                                                                                                                                                             R                                                                                                                   MICHAEL DOUGLAS DR                                                                                                                                              LN
                                                                                                                                                                                                                                                                                                                                                                                                                 TT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       WB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      CENTER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N
                                                                                                                                                                                                                                                                                                                                                                                                                    C




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ER
                                                                                                                                                                                                                                                                                                                                                                                                                        RE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    RAIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              CLARENCE LN




                                                                                                                                                                                                                                                                                             WOO                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RO A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         SHAMR




                                                                                                                                                                                                                                                                                                              DBRID                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         D ST
                                                                                                                                                                                                                                                                                                                                                                                                                           EK




                                                                                                                                                                                                                                                                                                                   GE LN                                                                                                                                                                                                                                                                                                                                                                                                         CLARENCE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     WEXFORD MANOR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CT
                                                                                                                                                  GWOOD
                                                                                                                                                        DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     HIGH ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                LONG ST
                                                                                                                                                                                                                                                                                                                                                                                                                                   TR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ELM ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CLARNEW DR




                                                                                                                                            WELLIN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         DR
                                                                                                                                                                                                                                                                                                                                                                                                                                      L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ANOR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        WILLIAMS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EXD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        HILTON DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ARY M
                                                                                                                                                                                       HALSTON PKWY                                                                                                                                                                                                                   N                                                                                                                                                                                                                                                                                                                                                                                        CORINNE LN
                                                                                                                                                                                                                                                                                                                                                                                                                   EL                                                                                                                              DR
                                                                                                                                         BRIARHILL RD
                                                                                                                   FARMINGTON RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  S HA
                                                                                                  DR




                                                                                                                                                                                                                                                                                                                                            L                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CURRY LN
                                                                                                                                                                                                                                                                                                                                        VIL
                                                                                                                                                                                       PARADISE RD
                                                                                                 LN




                                                                                                                                                                                                                                                                                                                                     SE                                                                                                                                                                       O                   FT                                                                                                                                                                                                                                                                            GA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         HARTWIG DR
                                                                                       BRANDYWINE




                                                                                                                                                                                                                                                                                                                                  RO
                                                                                                                                                                                                                                                                              HOBNAIL DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      NNO



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           CR
                                                                                 OK




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             TIPPER                                                                                                                                     SW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DR
                                                                                                                                                                                                                                                                                                                                    LN                                                                                                                                                        NE                                                                                                                                                                                                                                                                                                                    AY                                                                                                                                                                                                                                  AL
                                                                            YBRO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       VI                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LO
                                                                                                                                                                                                                                                                                                                                 RK                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    TR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            NC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ER
                                                                                                                                                                                                                                                                                                                               PA                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         L                                                                                                                                                                                                    CR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    R
                                                                                                                                                                                                                                                                                                  EL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              EE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            NEWHOUSE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    L AN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             MN
                                                                                                                                                                                                                                                                                                UR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                T




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EMERALD LN                                                                                                TAN         K




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RD
                                                                                                                                                                                                                                                                                             LA
                                                                        STON




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           KA
                                                                                                                                              RO                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                R                                                                                                                                                                                                                                                                                                CLARENCE CENTER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     YA
                                                                                                                                                XB                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   SH
                                                                                                                                                                                                                                                                                                 DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    AM
                                                                                                                                                  UR                                                                                                                              HIGHLAND FARMS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         INE
                                                                                                                                                    Y                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BOXWOOD DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FF CT                                                                                                                                                                                              US
                                                                                                                                                                               PK                                                                                                                  FIELD B                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         WOODRU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SV
                                                                                                                                                                                                                                                                                                          ROOK D                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 THOM                                                                                                                                                                                                                                                                                                                                                             LN
                                                                                                                                                                                                                                                                                                                R                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               PSONW
                                                                                                             KNO
                                                                        CHAPEL WOODS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                STRICKLER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          HA
                                                                                                                                                                 T LN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              OOD                                                                                                                                   ROSECROFT DR
                                                                                                                                                          CRICKE
                                                                                                                                                                                                                                                                                                                                                                      KIPPEN DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RT
                                                                                               ANA WO


                                                                                                                LLW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DANA CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           FERN CREST DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      MA
                                                                                                                   OOD




                                                                                                                                                                                                                                                                                                                                                                                                                                                   T
                                                                                                                                                                                                                                                                                                                                                                                                                                              CH LN
                                                                                                                                                                                                                                                                                                                                                                                                                                              LE LN

                                                                                                                                                                                                                                                                                                                                                                                                                                                EC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ROLL RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             H OW E
                                                                                                                                                                                                                                                                                                                                                                     INA




                                                                                                                                                          KLEIN RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  HEAVO
                                                                                                    ODS




                                                                                                                                                                                                                                                                                                                                                                                                                                             DG
                                                                                                                                   LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    MD N L
                                                                                                                                                                                                                                                                                                                                                             VIA MAR




                                                                                                                                                                                                                                                                                                                                                                                                                                      OAK DA



                                                                                                                                                                                                                                                                                                                                                                                                                                      PINE LO
                                                                                                                                                                                                                                                                                                                                                                                                                                           SE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AL EA
                                                                                                                                                                                                                                                                                                                                     VILLAGE STATION CIR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              SHIMERVILLE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                        OD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E D RAIN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               PL
                                                                                                                                                                                                                                                                                                                                                                                                                                     WO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  O                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     N
                                                                                                                                                                                                                                                                                                                                                                                     OAK F




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         AK                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            W                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                DAVISON RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  AY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TREE C




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LN
                                                                                                                                                                                                                                                                                                                                                                                                IELD L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       THOMPSON RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             M
                                                                                                                                                                                                                                                                                                               GREENHURST RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      VI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       AL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         A
                                                                                                                                                                                                                                                                                                                                                                                                      N
                                                                                                                                                                                                                                                                                                                                                     VISTA DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              SH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LA


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            DE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           G E CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PADDOCK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  AD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               L S ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    COUNTRY CLUB LN                                                                                                                                                                                                                                                                                                                                                                                                                                                       VIEW DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       YSI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   O

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    PARKLED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    O




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               MAYFIELD CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   NR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           O LD




                                                                                                                                                                                                                                                                                                                                                                 W                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             DR




                                                                                                                                                                                                                                                                                                                                                                                 LE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LEXOR LN




                                                                                                                                                                                                                                                                                                                                                                                   DG                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        IN                                                                                              GREINER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  GO




                                                                                                                                                                                                                                                                                                                                                                                     EL                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      DONNINGTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  OR




                                                                                                                                                                                                                                                                                                                                                                                                                               N                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      HO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               R OC



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     OD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      DGE DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        CH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 AU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        KHA
                                                                                                                                                                                                                                                                                                                                                              EASTBROOKE PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   VEN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ID




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             RIC
                                                                                                                                                                                                                                                                                                                                                                                                                               CLEARVIEW DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               KR
                                                                                                                                                                                                                                                                                                                                                                                                                                              GALBRAITH RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              MEADOWBROOK RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     HURLBURT LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ALEXANDER DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                H




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 RO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          GLENWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ROCKLE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            AY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                GE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HILLCREST DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   N RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         HW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BANK ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        PIN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LN                                                                                                                                        IG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RED TAIL RUN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           CT                                                                                                                                                                                                                                                        H

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           GASKIN RD                                                                                                                                                                                                                                                                                                                   E                                                                                                            G                                                                                                                                              Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HARRIS HILL RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N                                                                                                                    IN                                                                                                                                    NT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LDING
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ST O                                                                                                                   ND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    HUN                                                                                                                                                                           K EY T                                                                                                                     WI                                                                                                                                      OU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     THE FAIRWAYS                                                                                                                                                                     TIN                                                                                                                                                                                                                                                   PI                                                                                                                                                                     EC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   GE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          G                                                                                                                                                           Y P                                                                                        NE                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      VA L                                                                                                                                                                                                                                                                                                                                                                                                      R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   CK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    HILL                                                                  LEY TURN                                                                                                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SPAU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            SMILEY TER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                RO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FSID
                                                                                                                                                                                                                                                                                                                                                                                             N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        VIEW                                                                  RD STON                                                                                                                                                                                                                                   ED                                                                                                                                                                            RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RE                                                                                                                                                     BODINE
                                                                                                                                                                                                                                                                                                                                                                                        GE L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DR                                           S     E DR                                                                                                                                                                                                                                 G   E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   INGS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FSID




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DR                                                                                                                                                  VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    KA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CLIF




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   S PA
                                                                                                                                                                                                                                                                                                                                                                              LED




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CLIF




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            WENNER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              THE MAPLES




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CUMM
                                                                                                                                                                                                                                                                                                                                                                                                                        BR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EL                                EDG
                                                                                                                                                                                                                                                                                                                                                                                                                          EN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     TO N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            SA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ER S                                                                                                                                                                                                                                                                                                                                                                                                                                                BOYD DR
                                                                                                                                                                                                                                                                                                                                                                                                                            TW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            STONEWAY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             C ED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ROCKL OAK LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    TE R R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            PINE MANOR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                WM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          XAVIER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                              OO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                EW                                                                                                                                                                                                                                                                                                                                                                                   OAK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            NVI         D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 VE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    CA                                                                                                                                                                                                                                                                                                                                               NE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ILL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         BO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           SCHURR RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                 D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 E C                                                                                                                                                                                                                                                                                                                                              STO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              DA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SHISLER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            COTHERSTONE CIR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             RE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           AND A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        R O YA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        HEDGEWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           CHRISTIAN DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  GREENBRIAR RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          KINGSTHORPE TER




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             L OA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         B UD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    K DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              E OVERLOOK DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         SHERIDAN HILL DR                                                                                                                                                                                                                  SH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          W OVERLOOK DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I DA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                VE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ND                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         AG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     R                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      E   RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ARONDALE RD




                                                                                                                                                                                                                                                                                                                                                                                                            ER                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            M
                                                                                                                                                                                                                                                                                                                                                                                                                        ICS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DARCY LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           EL
                                                                                                                                                                                                                                                                                                                                                                              BRYANT AND STRATTON WAY




                                                                                                                                                                                                                                                                                                                                                                                                                                       ON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    KE




                                                                                                                                                                                                                                                                                                                                                                                                                                                       DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                WHITE ACRE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ST                                                                                                                                                                                          A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D                                                                                                                                                                                                                                                                                                                                                                           MAIN                                                                                                                                                                                                             DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 LY R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                             BER
                                                                                                                                                                                                                                                                                                                                                                                                                                                     KIM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TIM




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BERGTOLD RD

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             WESTERWAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 D LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      S RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           HEATHER DR FIELD DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       C LA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    TRAILING DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FIRESIDE DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  RE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               GUNNVILLE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OOD D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               OLD HICKORY LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AUTUMN TRL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              SE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RD O




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CAMERON RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ROXBURY DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  HOWARD DR
                                                                                                                                                                                                                                                                                                                                                                                          KALAYNE LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        WILDWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CONNECTION DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 RC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ROSEWOOD LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              OAKW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         VINEWOOD DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       N DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FAIR
                                                                                                                                                                                                                                                                                                                                                                                             COVENTRY GR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     H
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CIRCLE CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       PK




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   N RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TILLMA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          W
                                                                                                                                                                                                                                                                                                                                                                                                                                   STONEGATE LN
                                                                                                                                                                                                                                                                                                                                                                                                                                   FOXWOOD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          JONES RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                CASILLIO PKWY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              SUNSET DR                                                                                                                                                                                                                                                                                                                                                                                                                                                   WEHRLE DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E LM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                DAVID RD
                                                                                                                                                                                                                                                                                                                                                                                                        EEN CIR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AR
                                                                                                                                                                                                                                                                                                                                                                                                                                           LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BARTON RD
                                                                                                                                                                                                                                                                                                                                                                     WA




                                                                                                                                                                                                                                                                                                                                                                                                                   LN
                                                                                                                                                                                                                                                                                                                                                                                                          LARKSPUR
                                                                                                                                                                                                                                                                                                                                                                              INW




                                                                                                                                                                                                                                                                                                                                                                                                            PRIMROSE LN
                                                                                                                                                                                                                                                                                                                                                                                         RIG




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ROTECH DR
                                                                                                                                                                                                                                                                                                                                                                                                        HT
                                                                                                                                                                                                                                                                                                                                                                                                           CT




                                                                                                                                                                                                                                                                                                          FREEMA
                                                                                                                                                                                                                                                                                                                                               N RD



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I 90
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  VA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LL




                                                                                                                                                                                                                                                                                                                                                                                                                                   M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              M AR




                                                                                                                                                                                                                                                                                                                                                                                                                                              AP                                                                                                                                                                                                                                                 GENESEE ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      EY




                                                                                                                                                                                                                                                                                                                                                                                                                                                LE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            OV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                    DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   THA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               LO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       D  R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 OK




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            SCHLEMMER RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    DR




                                                                                                                                                                                                                                                                                                                                                                                                                                 ST
                                                                                                                                                                                                                                                                                                                                                                                                                             ION
                                                                                                                                                                                                                                                                                                                                                                                                        DIVIS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TOWN LINE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             HASKELL DR
                                                                                                                                                                                                                                                                                                                                                                   REGENCY CT

                                                                                                                                                                                                                                                                                                                                                                                                                E RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                               STUTZMAN RD
                                                                                                                                                                                                                                                                                                                                                                                                         E HOME RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       STONY RD
                                                                                                                                                                                                                                                                                                                                                                                                W HOM




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RANSOM RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BRADLEY DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PEPPERMINT RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    TR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               PLEASANT VIEW DR
                                                                                                                                                                                                                                                                                                                                                                                                                 HILLSIDE PKWY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TON LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ILI
                                                                                                                                                                                                                                                                                                                                                                                          R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 FORTON DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    QU
                                                                                                                                                                                                                                                                                                                                                                                        YD

                                                                                                                                                                                                                                                                                                                                                                                                                      HE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         OO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               C
                                                                                                                                                                                                                                                                                                                                                                                                                         RI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  AN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COVING




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         NW
                                                                                                                                                                                                                                                                                                                                                              LE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     A
                                                                                                                                                                                                                                                                                                                                                                                                                            TA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                TR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   TR
                                                                                                                                                                                                                                                                                                                                                            AL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        RA
                                                                                                                                                                                                                                                                                                                                                                                                                               G




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ST
                                                                                                                                                                                                                                                                                                                                                                                                                                 E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                EL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      UN
                                                                                                                                                                                                                                                                                                                                                          LV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      L
                                                                                                                                                                                                                                                                                                                                                                                                                                   DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         K


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ON




                                                                                                                                                                                                                                              PATSY LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           WARD RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AV
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    XH
                                                                                                                                                                                                                                                                                                                                                      H IL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              WARNER RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SHADY
                                                                                                                                                                                                                                                                                  ST




                                                                                                                                                                                             REHM RD                                                                                                                                                                                                                                                                         MN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        YB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        N
                                                                                                                                                                                                                                                                                                                    ANTHONY DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FO




                                                                                                                                                                                                                                                                                                                                                                                                                    C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          L
                                                                                                                                                                                                                                                      L




                                                                                                                                                                                                                                                                                                                                                                                                                 OD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           BISCAYNE DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    WHITESTON


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          RO
                                                                                                                                                                                                                                                    GA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      IEW




                                                                                                                                                                                                                                                                                                                                                                                                               WO
                                                                                                                                                                                                                                                 RE T
                                                                                                                                                                                                                                                   S




                                                                                                                                                                                                                                                                                                              DAR




                                                                                                                                                                                                                                                                                                                                                                                                             K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               OK




                                                                                                                                                                                                                                                                                                                                                                                                           OA NY ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SIDE L
                                                                                                                                                                                                                                                GE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    EV




                                                                                                                                                                                                                                          ALBERT CT                                                                                                                                                            O                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LANCASTER PKWY
                                                                                                                                                                                                                                                                                                                                                                                                           COL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  DR
                                                                                                                                                                                                                                                                                                                          WIN
                                                                                                                                                                                                                                               OR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PIN




                                                                                                                                                                                                                                          LEE ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          BROEZEL AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ST




                                                                                                                                                                                                                                                                                                                                                                                    WAYSIDE DR
                                                                                                                                                                                                                                             GE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              YL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        IROQUOIS AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ON
                                                                                                                                                                                                                                                                                                                              DR




                                                                                                                                                                                                                                          AIRVIEW TER
           WY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               QUAIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E LN
                                                                                                                                                                                                                                                                                                                                                                                                    MARRANO DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             EH




                                                                                                                                                                                                                                                                                                                                                                                                                                                         DR
                                                                                                             HYLAND AVE




                                                                                                                                                                                                                                      DONNA CT
                                                                                                                                                                                          NORMAN DR



                                                                                                                                                                                                       CORNELL DR




                                                                                                                                                                                                                                                                                                                                                             ARGUS DR
         PK




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        VE
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ER                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EN A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SENECA PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                  NT                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               WAL D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WB
                                                                                                                                                                                                         SUSA




                          MEADOWLAWN RD                                                                                                                                                                                                                                                                                                                                                                                                             CE
       TH




                                                                                                                                                                                                                        FAIRVIEW DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COLUMBIA AVE
                                                                        LOU ANN DR




                                                                                                                                                                                                                        BEVERLY DR
                                                                                                                                                      CLAUDE DR
                                                                                               BABBETTE DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                          PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RUN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  EA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  GE
                                                                                                                                                                                                                         ALYS DR E

                                                                                                                                                                                                                         BONITA DR
     OR




                                                                                                                                                                                                                                                                                                                                                                                                                                                     ORD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              NE
                                                                                                                                                                                                                          ALYS DR W




                      CLAUDETTE CT
                                                        SABLE PALM DR




                                                                                                                                                                                                                                                                                           ENTRY DR
                                                                                                                                        BISSELL AVE GREEN TER




                                                                                                                                                                                                                                                                                                                                                                                                                                              A SH F
                                                                                                                                                    LANCER CT


                                                                                                                                                     LEWAN DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            G




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     L CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               KATHERINE ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DR
    W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LE
                                                                                                                                                                                                             N DR




                        EVANE DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          BRIDGEWATER CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LN
 ME




                                                                                                                                                                                                                             MONA CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              TE




                         ENEZ DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    BENZE
HO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                TAFT AVE
                                                                                                                                                                                                                   R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 R
                                                                                                                                                                                                                 HD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  HOUSTON ST
                                                                                                                                                      DR




        GEORGE URBAN BLVD                                                                                                                                                                                                                                                                                      FRENCH RD                                                                                                                                                                                                                                  FALCON DR                                                                                                                                                                                                                                                 TRL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           W OOD
                                                                                 TAYLOR DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      TRENT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     C ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RIEMERS AVE
                                                                                                                                        SHERWOOD CT




                                                                                                                                                                                                                                                                                                                                                                                T
                                                                                                                                                                                                               UT
                                                                                                                                        PAME SYLVIA




                                MARY LOU LN                                                                                                                                                                                                                                                                                                                                  TS         VE
                                                                                                                                                                                                                                                                                                                                                                           AN OLMSTEAD A
                                                                                                                                           KING AVE




                                                                                                                                                                                                             MO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           MARKEY AVE
                                                                                                                                                                                                                                                                                                                                                                         GR
                                                                                                                                              LA DR




                      R                                                                                                                                                                                                                                      R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              HARLAN ST




                 BAS D
                         CANDACE LN




                                                                                                                                                                                                                                                           TE
                                         KAREN LN
                                      CAROLINE LN


                                      MADALINE LN




            BARNA
                                                                                                                                                                                                          RT
                                        CARDY LN
                         JACKIE LN




                                                                                                                                                                                                                                           G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   EMBRY PL
                                        JANE LN




                                                                                                                                                                                                                                          N
                                                                                                                                                                                                                                                                                                                                       LINCOLN ST
                DIC




                                                                                                                                                                                                        DA




                                                                                                                                                                                                                                        VI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ELLIC




                                                                                                                                                                                                                                      IR
                                                                                                                                                                                                                                                                                                                                         BREWSTER ST
                   KR




                                                                                                                                                                                                           HARVARD AVE                                                                     ELIOT AVE                                                                                                                                                                                                                                                     N                     PL

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Lancaster NY
                     D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             OTT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      TO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    UP                                                                        COMMER
                                                                                                                                                              BUCHANAN ST                                                                                                                                                                                                                                                                                                                                                                                                                                           VE WR            CE PKWY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          BEACH A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 P




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         EN AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      L




                          Cheektowaga NY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CEMETERY RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                AV E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   VANDENBERG AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LIVINGSTON ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E DRULLA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      BRANDEL AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  TE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                WESTWOOD RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WYANDOTTE ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    SAWYER AV
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             E                                                                PEARL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           NI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PAVEMENT RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            EW EL L AVE
                                                                                               DR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            WALTER WINTER DR




                                                                                          FAIR
                                                                                                                                                                                                                                                                                                                                                                                                                        NEOGA ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CAMBRIA ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CALUMET ST




                                                                TWIN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           COWING ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               LAVERACK AVE

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   MECHANI
                                                                                                                                                                                                                                                                 CANTON ST
                                                                                                                                                                                                            LEHIGH CT




                                                                                                                                                                                                                                                                                                                                                                                                                                               MANITOU ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          C ST
                                                                                                                                                                                                                                                                                                                        GOULD AVE
                                                                                                                                                                                                               A ST


                                                                                                                                                                                                                            LACKAWANNA AVE
                                                                                                                                                                                                      CT




                                                                                                                                                                                                                                                           BELLEVUE AVE S BELLEVUE AVE




                                                                                                                                                                                                                                                                                                                                 PARK PL                                                                                                                                                                                              ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         MA
                                                                                                                                                                                                                                                                                                                  EASTON ST
                                                                                                                                                                                              U




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          R YS
                                                                                                                                                                                                                                               BRYANT ST
                                                                                                                                                                                           EA




                                                                                                                                                                                                                                                                                                                                                                                          WARSAW ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SI
                                                                                                                                                                                                                                                                                                                                               MERIDIAN ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             W ST                                                                                                                                                                                                                                                                                                                                         ST           G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          VE
                                                                                                                                                                             AT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Y                         NA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        TA      IELD PL                                                                                                                                                                                                                                                                                                                    ON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ELM PL
                                                                                                                                                                           CH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AN BROOKF                                                                                                                                                                                                                                                                                                         H                                                 L                                                                                                                                                          ERIE ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     NT
                                                                                                                                                                                                                                                                                                                                                                                                            KOKOMO ST
                                                                                                                                                                                                                                                                                                                                                                          S WARSAW ST
                                                                                                                                                                                                                                                                                                          ELMWOOD AVE
                                                                                                                                                                                                                                                                                                           KIEFFER AVE
                                                                                                                                                                                                                                                                 S ELLINGTON AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    S                                                                                                                                                                                                                                                                                                           A                                                                             D
                                       D                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LEA                                                                                                                                                                                                                                                                                            ST                                                                                                R
                                                                                                                                                                                                            RD




                                                                                                                                                                                                                                                                                                            WEST AVE




                                 NR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            P           CLARK ST
                              DIA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FIELD AVE




                         IN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ST                                                                                                                                                                                                                                                                                                                    PLUMB CR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ST JOHN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     N
                                                                                                                                                                                                        DE N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  EEK TRL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        BO W V E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               HER L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          HEAT LVD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BRUNSWICK RD



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                EN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   E GAR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            A VE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           T
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                A
                                                                                                                                                                                                      BOR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CHURCH ST



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      RT S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   CONRAD ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                WASHINGTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              KB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RI S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      CA
                                                                                                                                                                                                                                                                           S CANTON ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CONWAY ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     KURTZ




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           WOODLAWN AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          PA R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      NO R
                                                                                                                                                                                                                                                                             RIVER ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   COU
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        D ET
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FIELD
                                                                                 OLD FARM CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          AL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  TOWNE SQUARE DR




                                                                                                                                                              D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   IVY WAY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 SAWGRASS LN




                                                                                                                                                  R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    STEPHENS CT




                                                                                                                                              LEY                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          GR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CIR




                                                    L                                                                              RO W
                                                  TR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            AM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ST




                                                                                                                                                                                                           ZURBRICK RD                                                                                                                                                                                                                                                                                                                                                      R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         LOMBARDY ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          AD                                                                                                                                                                                                                                                                                                                                                                   FT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                OLDE STONE LN




                                             ER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      M
                                                                                                                                                                                                                                                                                                                                                                                                                                     MILLER ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WIL                                                                                                                                                                                                                                                                                                                                                                                    RA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  BO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ALLEN ST




                                           DE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LENOX AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              RAYNOR PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           VILLA PL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LINDEN AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                DALE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LO                                                                                                                                                                                 BRO
                                                                                                                                                                                                                                                                                                                                                                                                                                                      IRWINWOOD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           PH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      DR




                                                                                                                                                                                                                                                                                       GIELE AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              GA                                                                                                                                                                                      ADW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       HARVEY DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         AY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ROBERT DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       NL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    DOL




                                                                                                                                                                                                                                                                                       MONROE ST                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          PARK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  4TH AVE




                                                                                                                                                                                                                                                                                           COMO PARK BLVD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 RAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  SOUTHWEST PKWY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                     LOUIS                                                                                                                    JAYCEE PKWY                                                                                                          QUINCY AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PARKSIDE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            BO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CHRISTEN CT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  WE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           VIEW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           PARK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    NR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       N DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                 MILTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     NATHAN'S TRL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CREEKWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    E RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       WILLIAMSBURG LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LAKE AVE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    KATELYN LN
                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                      NORTHWOOD DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AL K
                                                                                                                                                                                                                                                                                                                                                                                                NATO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LS W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             OOLHOUS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               FOX TRCE                                                                                                                                                                                                                                                                                                                                                               HAE
                                                                                                                                                                                                                                                                                                                                                                                                                           PENORA ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        AUTUMN PARK




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               MIC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    R RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 HI                                                                                                                                            W                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         WILLIAM KIDDE
                                                                                                                                                                                                                                                                                                                                                                                   VIA DO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               DD                                                                                  EV
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 AG
                                                                                                                                                                                                                                                                                                                               EASTWOOD PKWY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E                N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TR                                       V        ILL
                                                                                                                                                                                                                                                                                                                                                                                                                                                 S MILLER ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          OLD SCH




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WILLIAM ST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    N IC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            HO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   SIEBERT RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          WILLOW RI
                                                                                                                                                                                                                                                                                                                                                                                                                             S PENORA ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DGE LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              LA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        OLD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  POS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       OD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 LN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         WO            D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LV A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     T                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ASH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             SUMMERFIELD DR SSO           VI
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       CI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    SCHWARTZ RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          RY
                                                                                                                                                                                                                                                                                                                                                                                                                                                 PL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ANN                                                                                                                                                                                                                                                                                                              LO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  N




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Y




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 MAR                                                                                                                                                                                                                                                                                     EB
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LE




                                                                                                                                                                                                                                                                                                           Y LN                                                                                                                                                                                                                                                                                                                                                                                                                                                     IE                                                                                                                                                                                                                                                                                  L                         AY
                                                                                                                                                                                                                                                                                                                                                                                                                                               Y




                                                                                                                                                                                                                                                                                                    ANTHON                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     DR                                                                                                                                                                                                                                     P
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          NT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       K                                                                                                                                                                                                                                                                                                                                                                                                                                                                           AP
                                                                                                                                                                                                                                                                                                                                                                                                                                           NTR




                                                                                                                                                                                                                                                                                            MICHAEL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          EL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AL                                                                                                                                                                                                                                                               W                                             AY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  INE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               RR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     E                                                                                                                                                                                                                                                                                        E LE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       AURORA ST




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           MAD
                                                                                                                                                                                                                                                                                                                                                                                                                                   COU




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   DG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       UI




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           RI                                                                                                                                                                                                                                                                  RUE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SIMME RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             SQ




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          RT                                                                                                                                                                                                                                                                                                                                                                                                BRUNCK RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            PA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D EV




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        BEATRIX CIR R
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   RNE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DIDION RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      LAKE FOREST PKWY                                                                                                                                        T CO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            O NS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          TNU         CT
                                                                                                                                                                                                                                                                                                                                                        R                                                                                                                                                                                                                                                                                                                                                                                                           CHE S        HAM
                                                                                                                                                                                                                                                                                                                                                OOK D                                                                                                                                                                                                                                                                                                                                                                                                                       K ING
                                                                                                                                                                                                                                                                                                                                        ING BR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     HIR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       BU  C      SUSSEX LN
                                                                                                                                                                                                                                                                                                                                  RUNNW              LN         LN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DORCHESTER CT




                                                                                                                                                                                                                                                                                                                                    VIE    LN      H         NE
                                                                                                                                                                                                                                                                                                                                                US       STO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         E LN




                                                                                                                                                                                                                                                                                                                                  M
                                                                                                                                                                                                                                                                                                                           STREA             RB FIELD               N
                                                                                                                                                                                                                                                                                                                                          G A                    ST
                                                                                                                                                                                                                                                                                                                                      SU                       RE     PINETREE DR
                                                                                                                                                                                                                                                                                            SL




                                                                                                                                                                                                                                                                                                                                                            FO                                                                                                                                                                                                                                                                                                                                                                                                                                                       ING                                          TON LN                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  EVERGREEN DR
                                                                                                                                                                                                                                                                                                                                                         ED                           K LN                                                                                                                                                                                                                                                                                                                                                                                                                      WORTH
                                                                                                                                                                                                                                                                                               AT




                                                                                                                                                                                                                                                                                                                                                    A NT                          LO C
                                                                                                                                                                                                                                                                                                                                                 CH                          H EM
                                                                                                                                                                                                                                                                                                 EB




                                                                                                                                                                                                                                                                                                                    CIDER MILL CT             EN          D R
                                                                                                                                                                                                                                                                                                                                                       T
                                                                                                                                                                                                                                                                                                                     ENCHAN                     HPOIN
                                                                                                                                                                                                                                                                                                           OT




                                                                                                                                                                                                                                                                                                                             TED FO       SOUT
                                                                                                                                                                                                                                                                                                                                    REST S                 G CT                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 HALL RD
                                                                                                                                                                                                                                                                                                              TO




                                                                                                                                                                                                                                                                                                                                               SCHILLIN
                                                                                                                                                                                                                                                                                                                 M
